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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION



   CINDY L. RESCHKE,

               Plaintiff,

   v.                                         Case No. 3:21-cv-1081-MMH-PDB

   TARGET CORPORATION,

               Defendant.
                                       /


                                      ORDER

         THIS CAUSE is before the Court on the Stipulation to Remand Removed

   Action (Dkt. No. 14; Stipulation) filed on December 15, 2021.            In the

   Stipulation, the parties advise the Court that Plaintiff intends to amend the

   Complaint to add a party that will destroy diversity jurisdiction, and therefore,

   they stipulate to the remand of this matter.        See generally Stipulation.

   Accordingly, it is

         ORDERED:

         1.    This case is REMANDED to the Circuit Court of the Fourth

               Judicial Circuit, in and for Duval County, Florida for all further

               proceedings.
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         2.     The Clerk of the Court is DIRECTED to transmit a certified copy

                of this Order to the clerk of that court and to close this file.

         DONE AND ORDERED in Jacksonville, Florida this 16th day of

   December, 2021.




   ja

   Copies to:

   Counsel of Record
   Clerk, Fourth Judicial Circuit




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